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AO 455 (Rev. 01/09) Waiver ofan Indictment


                                      UNITED STATES DISTRICT COURT
                                                         for the
                                               Southern District of Florida

                 United States of America                   )
                                v.                          )      Case No. 21-CR-60259-WPD
                  JOHN WILLSON ROSS                         )
                                                            )
                            Defendant                       )

                                             WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court ofmy rights and the nature of the proposed charges against me. ·

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:         09/13/2021                                           ID a6CBDQgeTjtREgNMx99goSha

                                                                                             Defendant's signature




                                                                                        CARTER T. HILLSTROM
                                                                                     Printed name of defendant's attorney




                                                                                                 Judge 's signature



                                                                                         Judge's printed name and title
